                     EXHIBIT 10

                 (First Information Report)




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                                   FIRST INFORMATION REPORT
                                    (Under Section 154 Cr. P. C.)


1. District: NORTH WEST     P.S.: MODEL TOWN      Year: 2022    F.I.R. No:0351 Date: 29/03/2022

2. Acts:                        Sections:
   - IPC 1860                   409/34

3. Occurrence of Offence:
   (a) Day                          Date From:                       Date To:
       Time Period:                 Time From:                       Time To:
    (b) Information received at Police Station: Date: 29/03/2022                   Time: 15:20 hrs.
    (c) General Diary Reference:                     Entry No: 057A      Date/Time> 29/03/2022 15:40
4. Type of Information: Written
5. Place of Occurrence:
          (a) Direction and Distance from Police Station: NORTH, 01 Km(s)          Beat No: 10
                                                                    RD
          (b) Address: KOTAK MAHINDRA BANK, MODEL TOWN 3
          (c) If outside the limits of the police station:
6. Complainant / Informant:
          (a) Name: CHIRANSHU AHUJA (S/O) AJAY AHUJA
          (b) Date/Year of Birth: 1989               Nationality: INDIA
          (c) Passport No:          Date of Issue:          Place of Issue:
          (d) Occupation: BUSINESS
          (e) Address: 023, 5TH FLOOR TOWER A, SEC-21, CYBERROOT RISK ADVISORY PVT,
                         GURUGRAM, GURGAON CITY, GURGAON, HARYANA, INDIA
7. Details of known/suspected/unknown accused with full particulars (attach separate sheet if
necessary)


8. Reasons for delay in reporting by the complainant/informant:
   NO DELAY
9. Particulars of the properties stolen/ involved (attach separate sheet if necessary):
         SI No. Property Type (Description)                      Estimated Value (in Rs.)
10. Total value of property stolen:
11. Inquest Report / U.D. Case No., if any:
12. F.I.R. Contents (Attach separate sheet if required):




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                           First Information Report Fact




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English SI Harish Hooda D-6609, Action taken by police: Today a complaint in English, was received
by MN HC/DO from SI Harish Hooda to register the case. On receipt of the written article, FIR No
351/22 U/S 409/34 IPC by registering and computerizing and getting it fed into the computer by
W/Ct Jyoti No. 2055/NW CCTNS Opp. The computerized FIR Copy was handed over to SI Harish
Hooda. And the main copy will be sent to the higher authorities by mail. Buckle HC/Do




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13. Action Taken since the above information reveals commission of offence(s) u/s as mentioned
at Item No. 2:

       (i) Registered the case and took up the investigation:                                   OR

       (ii) Directed (Name of the I.O.: HARISH HOODA                     Rank:
                                                                SI (SUB-INSPECTOR)
              No: 16190461                                         to accept the investigation OR
       (iii) Refused investigation due to (for investigation):           OR (Refused due to or)
       (iv) Transferred to Police Station:                      District:
             On point of authority.
       FIR read over to the complainant/informant, admitted being correctly recorded, and a
       copy given to the complainant/informant, free of cost:


       R.O.A.C.:


14. Signature / Thumb Impression                                Signature of Officer
    Of the complainant / Informant:
                                                                Name: POONAM
                                                                Rank: HC(HEAD CONSTABLE)
                                                                No.: 28011138

15. Date and Time of dispatch to the court:




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      City of New York, State of New York, County of New York




      I, Dan McCourt, hereby certify that the document “2022.03.09 - FIR 35122-
      CyberRoot” is, to the best of my knowledge and belief, a true and accurate translation
      from Hindi into English.




      ______________________
      Dan McCourt



      Sworn to before me this
      November 17, 2022



      _____________________
      Signature, Notary Public




      ___________________
      Stamp, Notary Public




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